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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                        _____________________________________


MARCELINA CARREIRA ALVIM
SOARES, et al.,

       Plaintiffs,
                                                     Civil Action No. 3:21-cv-02995-G
v.

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, et al.,

       Defendants.

              DEFENDANTS’ UNOPPOSED MOTION FOR AN
        EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND

       In this case, Plaintiffs seek a writ of mandamus to compel U.S. Citizenship and

Immigration Services (USCIS) to adjudicate a Form I-485, “Application to Register

Permanent Residence or Adjust Status”; a Form I-140, “Immigrant Petition for Alien

Workers”; and a Form I-765, “Application for Employment Authorization.” See Doc. 1

at 2. Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendants respectfully

move the Court for a 30-day extension of time to answer or otherwise respond to the

complaint, which would extend the response deadline from February 14, 2022 to March

16, 2022. The reason for this extension request is that, on February 3, 2022, USCIS

issued requests for evidence to Plaintiffs. A response to the request for evidence is due

by May 2, 2022, which constitutes the maximum period allowed for responding to

requests for evidence. See 8 C.F.R. § 103.2(b)(8)(iv) (“The request for evidence . . . will



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indicate the deadline for response, but in no case shall the maximum response period

provided in a request for evidence exceed twelve weeks . . . .”). 1 Upon receipt of the

responses to the requests for evidence, USCIS will resume processing the applications.

USCIS expects that, by March 16, 2022, it will have either completed adjudicating the

applications, rendering the lawsuit moot, or at least be in a significantly better position to

determine what additional steps may be necessary before completing adjudication.

Plaintiffs do not oppose this extension request. Therefore, Defendants respectfully move

the Court for a 30-day extension of time to answer or otherwise respond to Plaintiffs’

complaint, from February 14, 2022 to March 16, 2022.

                                                               Respectfully submitted,

                                                               CHAD E. MEACHAM
                                                               UNITED STATES ATTORNEY

                                                               /s/ Lisa R. Hasday
                                                               Lisa R. Hasday
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                                                               Attorneys for Defendants




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  Defendants note that, in response to the Covid-19 pandemic, USCIS has extended flexibilities for responding to
agency requests and, before taking any action, the agency will consider a response to a request for evidence that is
received within 60 calendar days after the response due date set in the request. See
https://www.uscis.gov/newsroom/alerts/uscis-extends-flexibility-for-responding-to-agency-requests-0.


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                                        Certificate of Conference

       I certify that, on February 10, 2022, I conferred with Plaintiffs’ counsel regarding

this motion, and counsel stated that Plaintiffs do not oppose the motion.

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




                                      Certificate of Service

       On February 10, 2022, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                      /s/ Lisa R. Hasday
                                                      Lisa R. Hasday
                                                      Assistant United States Attorney




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